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                        EXHIBIT 42
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                                                                      EXHIBIT 42


 1                      THE UNITED STATES DISTRICT COURT

 2                            FOR THE DISTRICT OF OREGON

 3                                 MEDFORD DIVISION

 4

 5   ARNAUD PARIS,                         )
                                           )
 6                   Petitioner,           )   Case No. l:22-cv-01593-MC
                                           )
 7                       v.                )
                                           )   December 5, 2022
 8   HEIDI MARIE BROWN,                    )
                                           )
 9                   Respondent.
                     )
     _______________ )
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13                                    COURT TRIAL

14                    EXCERPT OF TRANSCRIPT OF PROCEEDINGS

15                  BEFORE THE HONORABLE MICHAEL J. MCSHANE

16                     UNITED STATES DISTRICT COURT JUDGE

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 1                                  APPEARANCES

 2   FOR THE PETITIONER:
                                DAVID B. STARKS
 3                              McKinley Irvin PLLC
                                1501 4th Avenue
 4                              Suite 1750
                                Seattle, WA 98101
 5

 6   FOR THE RESPONDENT:
                                KATELYN D. SKINNER
 7                              Buckley Law PC
                                5300 Meadows Road
 8                              Suite 200
                                Lake Oswego, OR 97035-8617
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15   COURT REPORTER:         Kendra A. Steppler, RPR, CRR
                             United States District Courthouse
16                           District of Oregon
                             405 E. 8th Avenue, Room 2100
17                           Eugene, OR 97401

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 1                     (Excerpt of proceedings began at 2:34 PM.)

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 4-- -__b6dy·-or -Exffioit--_ 23, _-..thaf ·Ms-·- Brown Ts" -1nterit- of"' eiil:eiiTn_q Tnt-Q

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 fl . ~falls-~=---generally, under -the - - -whaj;.:_'.we call the ''_Q~fine-fraud
 1
 [:   ~eXC§P.tion. '~
 9            It certainly had an impact on whether he should have seen
10     it or not seen it.           And there's a lot of things people should
11     probably not see as they're getting divorced, and, yet, they
12     snoop through people's stuff.                  They get on people's computers,
13     they get on their phones, they go through their bags.                                It
14     happens, and it has an impact on what they believe to be
15     happening, for better or for worse.
16            So I'm going to allow it.                You know, I know that the
17     Respondent's position is if it doesn't come in, then I have no
18     jurisdiction, because Mr. Paris would not have known that, in
19     fact, the children were being -- going to                           were being
20     purposely held in the United States and were not to be returned
21     to France.
22            Btit there's Tot~ of other ev:1:aence that - - ~~1:or to flTing
'23   -th$.t.ll§..gue Conventa'on Act case - -. that it was clea3F:7:-rhat - - atj
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 1   'ch1ldren_- to~'"France j

 2         This is one piece that I think certainly goes towards that

 3   proof, but there's lots of other evidence in the case on which

 4   I would make that finding otherwise.

 5                MR. STARKS:        So perhaps we're to the point now where

 6   I offer it?

 7                THE COURT:       Yes.

 8                MR. STARKS:        Okay.    So I'm offering Exhibit 23.

 9                THE COURT:        I'm going to allow it over objection.

10                MS. SKINNER:        And, Your Honor, if I could just make a

11   few more points on the record for this one.                   I would cite to

12   In re Grand Jury Investigation, 810 F.3d 1110, a Ninth Circuit

13   case, where, in order for the Court to initially make a

14   determination on whether or not the crime fraud exception

15   exists, there has to be a prima facie showing by Petitioner

16   that there's evidence to support the crime fraud exception.

17   And that evidence has to be admissible, lawfully obtained

18   evidence.

19         The Petitioner has no admissible or lawfully obtained

20   evidence to support a prima facie case that the Court should

21   even consider the crime fraud exception.

22                THE COURT: ,I'm just looking at my own experience.

23   Typically, I'm sent the privileged communication.                   I review it.

24   And usually there is no other evidence to suggest a fraud,

25   except the communication.


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 1        If there is extrinsic evidence, it would be the fact that

 2   Ms. Brown entered into a parenting agreement in France and then

 3   made it very clear, in communications with her lawyer, she has

 4   no intent on following that agreement.            I don't know what more

 5   I would need to make a finding that there's a prima facie case.

 6        They can't prove fraud if they don't know of the fraud,

 7   except through the privileged communication.               So I think the

 8   evidence is there, and I'm going to allow it.

 9               MS. SKINNER:     And, Your Honor, I would just place,

10   again, a final objection on the record to -- objecting to the

11   fact that now my client's attorney-client privilege has now

12   been waived without her consent.          And we'll need to then put a

13   case on as to -- otherwise what we would be objecting to is

14   privileged communications between her and her lawyer in order

15   to argue this issue.

16        So, effectively, the door has been opened to

17   attorney-client confidential communications to which she did

18   not consent to and now is being placed in a position where she

19   must present privileged communications in order to rebut this

20   evidence.

21               THE COURT:     That's up to you.          But this, all I'm

22   saying, is coming in under a waiver of privilege.

23               MS. SKINNER:      And I would also object that this is a

24   hearsay statement that is in no way able to be authenticated by

25   this witness.     He is not a party to any of this communication,


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 1   and so it's hearsay.

 2               THE COURT:     Well, at some point, I just use common

 3   sense on what the reality of this is.           And I'm sure Mr. Starks

 4   will be asking your client if, in fact, she wrote this.                   If she

 5   denies it, then we can take it up at that time.

 6               MS. SKINNER:     Thank you, Your Honor.

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 8                (Excerpt of proceedings ended at 2:39 PM.)

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 1                            C E R T I F I CA T E
 2

 3                    Arnaud Paris v. Heidi Marie Brown
 4                               1:22-cv-01593-MC
 5                             Court Trial Excerpt
 6                               December 5, 2022
 7

 8        I certify, by signing below, that the foregoing is a true
 9   and correct transcript of the record, taken by stenographic
10   means, of the proceedings in the above-entitled cause.                    A
11   transcript without an original signature, conformed signature,
12   or digitally signed signature is not certified.
13
14   /s/Kendra A. Steppler, RPR, CRR
     Official Court Reporter                  Signature Date: 1/10/2023
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